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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION

JERRY WAYNE ROLAND                                                                                   PLAINTIFF

V.                                                                              NO. 4:20-CV-111-DMB-DAS

HUMPHREYS COUNTY,
MISSISSIPPI, et al.                                                                             DEFENDANTS


                                                     ORDER

         On October 19, 2020, Jerry Wayne Roland, through counsel, filed a “Motion to Strike,

Motion for Entry of Default Judgment, and Motion for Extension of Time to File Brief.” Doc.

#18. Roland filed a memorandum brief in support of the motion on November 3, 2020. Doc. #24.

         Roland’s motion and memorandum brief both fail in multiple ways to comply with the

Local Rules of this Court. The eleven-page motion exceeds the four-page limit for motions

mandated by Local Rule 7(b)(2)(B). In violation of the same rule, the motion contains legal

argument and citations. The memorandum brief was filed approximately two weeks after the

motion was filed, contrary to Local Rule 7(b)(4)’s requirement that the memorandum brief be filed

at the time the motion is served.1 Additionally, the memorandum brief is 42 pages long, which

contravenes Local Rule 7(b)(5)’s 35-page limit for the movant’s initial and reply briefs.2 Due to




1
  The motion includes a request for “an extension of five (5) days to file a Memorandum of Authorities in support of
the instant motion.” Doc. #18 at 10. But that request is now moot because Roland’s supporting memorandum was
not filed within the extension period requested, and Roland has not sought any further extension. Regardless, to the
extent the motion requests an extension, the motion further fails to comply with Local Rule 7(b)(10) because it fails
to advise whether the extension is opposed.
2
 Although Roland’s memorandum brief asks the Court to “excuse the page limit of the instant brief due to the number
and complexity of the issue presented,” Doc. #24 at 42, the Court declines to acknowledge the request since it was not
made by motion but rather in an untimely memorandum brief.
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these failures to comply with the Local Rules,3 Roland’s “Motion to Strike, Motion for Entry of

Default Judgment, and Motion for Extension of Time to File Brief” [18] is DENIED.

         SO ORDERED, this 9th day of November, 2020.

                                                               /s/Debra M. Brown
                                                               UNITED STATES DISTRICT JUDGE




3
 “Failure to timely submit the required motion documents may result in the denial of the motion.” See L.U. Civ. R.
7(b)(4). And “[a]ttorneys practicing before the district courts of Mississippi are charged with the responsibility of
knowing the Local Rules.” L.U. Civ. R. Preamble.

                                                         2
